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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

      v.
                                                    Criminal Action No. 1:21-cr-00670 (CJN)
STEPHEN K. BANNON,

               Defendant.


                                     SCHEDULING ORDER

       Trial is set begin in this matter on July 18, 2022, at 9:00 a.m. in Courtroom 19. Jury

selection will begin that day at 9:00 a.m., and will be conducted in accordance with Appendix 8

of the Continuity of Operations Plan for COVID-19, assuming that Appendix 8 remains in force.

The following deadlines shall govern pretrial proceedings:

       1.      By January 14, 2022, Defendant shall make discovery requests of the Government.

               The Government shall have until January 28, 2022, to respond to the Defendant’s

               Discovery requests.

       2.      Any motions to compel discovery, along with any motion to exclude evidence or

               argument relating to the advice of counsel defense, shall be filed by February 4,

               2022. Oppositions to any such motions shall be filed by February 25, 2022. Any

               reply shall be filed by March 8, 2022.

       3.      The Parties shall file any motions to dismiss the indictment or other motions to

               exclude evidence by April 8, 2022. Oppositions to any such motion shall be filed

               by April 29, 2022. Any reply shall be filed by May 10, 2022.




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4.      The Parties shall file any pretrial motions (including motions in limine) on or before

        June 17, 2022. Oppositions to pretrial motions (including motions in limine) shall

        be filed by July 1, 2022. Any reply shall be filed by July 8, 2022.

5.      The United States shall notify Defendant of its intention to introduce any Rule

        404(b) evidence not already disclosed by July 8, 2022.

6.      The United States should endeavor to make grand jury and Jencks Act disclosures

        as to each witness it expects to call in its case-in-chief by July 8, 2022. Any Brady

        materials not already disclosed must be disclosed by this date.

7.      The Parties shall also file with the Court, no later than July 11, 2022, a Joint Pretrial

        Statement that contains:

        A.      A neutral statement of the case. The Parties shall include a neutral statement

                of the case for the Court to read to prospective jurors.

        B.      Proposed voir dire questions. The Parties shall indicate:

                1.      the voir dire questions on which the parties agree; and

                2.      the voir dire questions on which the parties disagree, with specific

                        objections noted below each disputed question.

        C.      Proposed jury instructions. The Parties shall submit a list of proposed jury

                instructions, followed by the text of each proposed instruction, that

                indicates:

                1.      the instructions on which the parties agree, and

                2.      the instructions on which the parties disagree, with specific

                        objections noted below each disputed instruction; and the proposed

                        instruction’s source (e.g., the Red Book, Matthew Bender’s Federal




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                Jury Instructions) or, for modified or new instructions, supporting

                legal authority (e.g., Joy v. Bell Helicopter Textron, Inc., 999 F.2d

                549, 556 (D.C. Cir. 1993)).

         Proposed instructions may be updated as needed to reflect the evidence

         presented at trial. Absent a showing of good cause, no other modifications

         will be permitted.

   D.    List of witnesses. The Parties shall identify the witnesses that each side

         anticipates it may call in its case-in-chief, divided into the following

         categories:

         1.     witnesses who will be called to testify at trial;

         2.     witnesses who may be called to testify at trial; and

         3.     witnesses whose testimony a party will present by deposition or

                other prior testimony, indicating whether the presentation will be by

                transcript or video.

         The Court will read the list of witnesses to the jury during voir dire. In the

         list, each witness name should be accompanied by a brief description of

         each witness’s expected testimony and area of expertise, if applicable,

         followed by specific objections, if any, to each witness.

   E.    Exhibit lists. The Parties shall include a list of trial exhibits (including

         demonstratives, summaries, or other specially prepared exhibits), which

         includes:

         1.     the exhibit number for each document;

         2.     the date of the document;




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                      3.       a brief description of the document;

                      4.       a concise statement of the asserted basis of admissibility; and

                      5.       whether there is an objection to admission of the document and, if

                               so, a concise statement of the basis for the objections.

                      This list, together with numbered premarked copies of the exhibits, should

                      be submitted to the Court in a separate binder.

               F.     Stipulations. The Parties shall submit a draft of all stipulations.

               G.     Proposed verdict form. The Parties shall include a draft verdict form,

                      including any proposed special interrogatories. The draft verdict form

                      should include a date and signature line for the jury foreperson.

       8.      The Court will schedule hearings on any motions filed by the Parties as necessary.

       9.      Counsel shall appear on July 14, 2022, at 10:00 a.m. for a Pretrial Conference in

               Courtroom 19.

       The parties must submit to chambers a printed copy of the Joint Pretrial Statement tabbed

and in a three-ring binder. The parties must submit an electronic copy of all proposed voir dire

questions, jury instructions, and verdict forms in Word format by emailing them to Chambers at

Nichols_Chambers@dcd.uscourts.gov. The jury instructions section must be formatted so that

each individual jury instruction begins on a new page.

       Failure to comply with this Order will be deemed a waiver of all objections to matters

covered by this Order.


DATE: January 3, 2022
                                                              CARL J. NICHOLS
                                                              United States District Judge




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